UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE
UNITED STATES OF AMERICA )
) No. 2:18-CR-186
v. )
) JUDGE GREER
TERRY K. DISHNER )

PLEA AGREEME!§T

The United States of America, by the United States Attorney for the Eastern District of
Tennessee, and the defendant, TERRY K. DISHNER, and the defendant’s attorney, NIKKI C.
PIERCE, have agreed upon the following:

l. The defendant will plead guilty to the following count(s) in the indictment:

a) Count One. Possession of a firearm by a convicted felon, in violation of 18
U.S.C. § 922(g)(l).

The punishment for this offense is as follows A maximum of 10 years imprisonment, a
maximum fine of $250,000.0(), a maximum of 3 years supervised release, and $100.00 mandatory
assessment fee.

2. There are no remaining counts in the indictment ln consideration of the defendant’s
guilty plea, the United States agrees not to further prosecute the defendant in the Eastern District of
Tennessee for any other offenses committed by the defendant that are known to the United States
Attorney’s Offlce for the Eastern District of Tennessee at the time this plea agreement is signed by
both paities.

3. The defendant has read the indictment, discussed the charges and possible defenses

with defense counsel, and understands the crime(s) charged
4. ln support of the defendant’s guilty plea, the defendant agrees and stipulates to the

following facts, which satisfy the offense elements These are the facts submitted for purposes of

l

Case 2:18-cr-00186-.]RG-I\/|CLC Document 22 Filed 03/15/19 Page 1 of 7 Page|D #: 40

 

the defendant’s guilty plea. They do not necessarily constitute all of the facts in the case. Other
facts may be relevant to sentencing Both the defendant and the United States retain the right to
present additional facts to the Couit to ensure a fair and appropriate sentence in this case.

On May 1, 2018, officers with the Kingsport Police Depaitment Were investigating a
disturbance at the dead end of Howard Street. While trying to locate the disturbance, officers came
into contact With DISHNER at his residence at 629 Howard Street. DISHNER gave officers
permission to enter his residence and look in his living room to determine if anyone was there and in
need of assistance ln the living room, officers observed an AR-l§-style rifle and a bolt action rifle
leaning against the coffee table in plain view.

Officer Reed of KPD had previous personal knowledge that DISHNER was a convicted
felon. DISHNER admitted to being a convicted felon and told officers he had been charged with
felon in possession of a firearm in the past. DISHNER also stated that there Were more firearms in a
back bedroom and gave officers permission to retrieve them. Officers found the following six
firearms in DISHNER’S home: l) loaded Palmetto Arms model PA-15 5.56 caliber; 2) Savage
Arms Axis .22LR; 3) Sig Sauer 816 rifie; 4) CAI model PAP92PV rifle 7.62 caliber; 5) Mossberg
185D-B 20 gauge; 6) H&R Arms 20 gauge. Offieers then discovered that the Sig Sauer rifle was
reported as stolen on March 17, 2018 in Kingsport, Tennessee. Officers confirmed DlSHNER’s
status as a convicted felon and all of the firearms were manufactured outside the state of Tennessee.

5. The defendant is pleading guilty because the defendant is in fact guilty.

The defendant understands that, by pleading guilty, the defendant is giving up several rights,
including:

a) the right to plead not guilty;

b) the right to a speedy and public trial by jury;

' c) the right to assistance of counsel at trial;

2

Case 2:18-or-00186-.]RG-I\/|CLC Dooument 22 Filed 03/15/19 Page 2 of 7 Page|D #: 41

 

d) the right to be presumed innocent and to have the burden of proof placed on
the United States to prove the defendant guilty beyond a reasonable doubt',
e) the right to confront and cross-examine witnesses against the defendant;
f) the right to testify on one’s own behalf, to present evidence in opposition to
the charges, and to compel the attendance of witnesses; and
' g) the right not to testify and to have that choice not used against the defendant
6. The parties agree that the appropriate disposition of this case would be the following
as to each count:
a) The Court may impose any lawful term(s) of imprisonment, any lawful
fine(s), and any lawful term(s) of supervised release up to the statutory maximum(s);
b) The Court will impose special assessment fees as required by law; and
c) The Court may order forfeiture as applicable and restitution as appropriate
No promises have been made by any representative of the United States to the defendant as to what
the sentence will be in this case. Any estimates or predictions made to the defendant by defense
counsel or any other person regarding any potential sentence in this case are not binding on the
Court, and may not be used as a basis to rescind this plea agreement or withdraw the defendant’s
guilty plea(s). The defendant understands that the sentence in this case will be determined by the
Court after it receives the presentence investigation report from the United States Probation Office
and any information presented by the parties. The defendant acknowledges that the sentencing
determination will be based upon the entire Scope of the defendant’s criminal conduct, the
defendant’s criminal history, and pursuant to other factors and guidelines as set forth in the
Sentencing Guidelines and the factors set forth in 18 U.S.C. § 3553.

7. Given the defendant’s agreement to plead guilty, the United States will not oppose a

two-level reduction for acceptance of responsibility under the provisions of Section 3E1.1(a) of the

3

Case 2:18-or-00186-.]RG-I\/|CLC Dooument 22 `Filed 03/15/19 Page 3 of 7 Page|D #: 42

Sentencing Guidelines. Further, if the defendant’s offense level is 16 or greater, and the defendant
is awarded the two-level reduction pursuant to Section 3E1.1(a), the United States agrees to move,
at or before the time of sentencing, the Court to decrease the offense level by one additional level
pursuant to Section 3E1.1(b) of the Sentencing Guidelines. Should the defendant engage in any
conduct or make any statements that are inconsistent with accepting responsibility for the
defendant’s offense(s), including violations of conditions of release or the commission of any
additional offense(s) prior to sentencing, the United States will be free to decline to make such
motion, to withdraw that motion if already made, and to recommend to the Court that the defendant

not receive any reduction for acceptance of responsibility under Section 3E1.1 of the Sentencing

Guidelines.
8. The defendant agrees to pay the special assessment in this case prior to sentencing
9. Financial Obligations. The defendant agrees to pay all fines and restitution imposed

by the Couit to the Clerk of Court. The defendant also agrees that the full fine and/or restitution
amount(s) shall be considered due and payable immediately. lf the defendant cannot pay the full
amount immediately and is placed in custody or under the supervision of the Probation Office at any
time, the defendant agrees that the Bureau of Prisons and the Probation C)ffice will have the
authority to establish payment schedules to ensure payment of the fine and/ or restitution. The
defendant further agrees to cooperate fully in efforts to collect any financial obligation imposed by

the Court by set-off of federal payments, execution on non-exempt property, and any other means

the United States deems appropriate The defendant and counsel also agree that the defendant may
be contacted post-judgment regarding the collection of any financial obligation imposed by the
Court without notifying the defendant’s counsel and outside the presence of the defendant’s counsel.
ln order to facilitate the collection of financial obligations to be imposed With this prosecution, the

defendant agrees to disclose fully all assets in Which the defendant has any interest or over which

4

Case 2:18-or-00186-.]RG-I\/|CLC Dooument 22 Filed 03/15/19 Page 4 of 7 Page|D #: 43

the defendant exercises control, directly or indirectly, including those held by a spouse, nominee, or
other third party. ln furtherance of this agreement, the defendant additionally agrees to the
following specific terms and conditions:

a) lf so requested by the United States, the defendant will promptly submit a
completed financial statement to the U.S. Attorney’s Office, in a form it provides and as it directs.
The defendant promises that such financial statement and disclosures will be complete, accurate,
and truthful

b) The defendant expressly authorizes the U.S. Attorney’s Office to obtain a
credit report on the defendant in order to evaluate the defendant’s ability to satisfy any financial
obligation imposed by the Court.

c) lf so requested by the United States, the defendant will promptly execute
authorizations on forms provided by the U.S. Attorney’s Office to permit the U.S. Attorney’s Office
to obtain financial and tax records of the defendant

10. v The defendant acknowledges that the principal benefits to the United States of aplea
agreement include the conservation of limited government resources and bringing a certain end to
the case. Accordingly, in consideration of the concessions made by the United States in this

agreement and as a further demonstration of the defendant’s acceptance of responsibility for the

offense(s) committed, the defendant voluntarily, knowingly, and intentionally agrees to the
following:

a) The defendant will not file a direct appeal of the defendant’s conviction(s) or
sentence with one exception: The defendant retains the right to appeal a sentence imposed above
the sentencing guideline range determined by the Court or above any mandatory minimum sentence
deemed applicable by the Court, whichever is greater. The defendant also Waives the right to appeal

the Court’s determination as to whether the defendant’s sentence will be consecutive or partially

5

Case 2:18-cr-00186-.]RG-I\/|CLC Document 22 Filed 03/15/19 Page 5 of 7 Page|D #: 44

concurrent to any other sentence.

b) The defendant will not file any motions or pleadings pursuant to 28 U.S.C.
§ 2255 or otherwise collaterally attack the defendant’s conviction(s) or sentence, with two
exceptions: The defendant retains the right to file a § 2255 motion as to (i) prosecutorial
misconduct and (ii) ineffective assistance of counsel.

c) The defendant will not, whether directly or by a representative, request or
receive from any department or agency of the United States any records pertaining to the
investigation _or prosecution of this case, including, without limitation, any records that may be
sought under the Freedom of Information Act, 5 U.S.C. Section 552, or the Privacy Act of 1974,
5 U.S.C. Section 552a

11. This plea agreement becomes effective once it is signed by the parties and is not
contingent on_ the defendant’s entry of a guilty plea. lf the United States violates the terms of this
plea agreement, the defendant will have the right to withdraw from this agreement lf the defendant
violates the terms of this plea agreement in any way (including but not limited to failing to enter
guilty plea(s) as agreed herein, moving to withdraw guilty plea(s) after entry, or by violating any

couit order or any local, state or federal law pending the resolution of this case), then the United

States will have the right to void any or all parts of the agreement and may also enforce whatever
parts of the agreement it chooses. ln addition, the United States may prosecute the defendant for any
and all federal crimes that the defendant committed related to this case, including any charges that
were dismissed and any other charges which the United States agreed not to pursue. The defendant
expressly waives any statute of limitations defense and any constitutional or speedy trial or double

jeopardy defense to such a prosecution The defendant also understands that a violation of

6

Case 2:18-cr-00186-.]RG-I\/|CLC Document 22 Filed 03/15/19 Page 6 of 7 Page|D #: 45

this plea agreement by the defendant does not entitle the defendant to withdraw the defendant’s
guilty plea(s) in this case.

12. The United States will file a supplement in this case, as required in every case by the
Local Rules ofthe United States District Court for the Eastern District of Tennessee, even though-
there may or may not be any additional terms. lf additional terms are included in the supplement,
they are hereby fully incorporated herein:

13. This plea agreement and supplement constitute the full and complete agreement and
understanding between the parties concerning the defendant’s guilty plea to the above-referenced
charge(s), and there are no other agreements, promises, undertakings, or understandings between the
defendant and the United States. Tlie parties understand and agree that the terms of this plea
agreement can be modified only in writing signed by all of the parties and that any and all other
promises, representations, and statements whether made before, contemporaneous with, or after this
agreement, are null and void.

J. DOUGLAS OVERBEY
UNITED STATES ATTORNEY

z[t¢, it Byr 9¢/{//%

pate 5 ANDR§w C. PARKER

Assistant United S es Attorney
9\/<3>; l r‘l

  
     

bare ’ l /gaxi<va@ DisHNi-:R

efendant

 

 

  
     

 

bare “ f i{irkl<i c. PiERCi§"/‘“
A

torney for the Defendant

 

 

Case 2:18-cr-00186-.]RG-I\/|CLC Document 22 Filed 03/15/19 Page 7 of 7 Page|D #: 46

 

